                IN THE DISTRICT COURT OF THE UNITED STATES
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            STATESVILLE DIVISION
                     CRIMINAL DOCKET NO. 5:12CR19-2-RLV



UNITED STATES OF AMERICA        )
                                )
                                )
           vs.                  )                             ORDER
                                )
YULISMA JULIE OCAMPO            )
_______________________________ )




      Leave of Court is hereby granted for the dismissal without prejudice of the

Bill of Indictment in the above-captioned matter.

             The Clerk is directed to certify copies of this Order to the U.S. Probation

Office, U.S. Marshall Service, and the United States Attorney's Office.



                                                  Signed: April 24, 2013




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